Case 18-04036-jw      Doc 35     Filed 09/10/19 Entered 09/10/19 19:49:32              Desc Main
                                 Document      Page 1 of 38




                        UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

  IN RE:                                         )       CHAPTER 13
                                                 )       CASE NO. 18-04036-jw
  MYLES LOREN EDMUNDSON and                      )
  (aka Myles L Edmundson, aka Myles              )
  Edmundson)                                     )
  SANDRA KAY EDMUNDSON                           )
  (aka Sandra K Edmondson, aka Sandra K          )
  Edmundson, aka Sandy Hulslander, aka           )
  Sandra Edmundson, aka Sandra K                 )
  Hulslander, aka Sandy Edmundson, aka           )
  Sandra Edmondson, aka Sandra Kay               )
  Edmondson, aka Sandra Hulslander, aka          )
  Sandra Kay Hulslander)                         )
                                                 )       NOTICE OF MOTION FOR
                                                 )       RELIEF FROM AUTOMATIC
                                                 )       STAY 11 U.S.C. § 362
                 DEBTORS                         )

                     NOTICE OF MOTION FOR RELIEF FROM
                 THE AUTOMATIC STAY OF 11 U.S.C. 11 U.S.C. § 362

  TO: MYLES LOREN EDMUNDSON, DEBTORS AND JAMES M. WYMAN,
  TRUSTEE AND THOSE NAMED IN THE ATTACHED MOTION.

  PLEASE TAKE NOTICE THAT a hearing will be held on the attached motion on:

  Date: October 17, 2019

  Time: 11:00 a.m.

  Place: CHARLESTON: KING AND QUEEN BUILDING, 145 KING STREET, ROOM
  225, CHARLESTON, SC 29401

  Within fourteen (14) days after service of the attached motion, the notice of motion, the
  movant's certification of facts, (and a blank certification of facts form, applicable only to
  motions for relief from the automatic stay and for service on pro se parties only), any
  party objecting to the relief sought shall:

  (1) File with the Court a written objection to the 11 U.S.C. § 362 Motion;
Case 18-04036-jw      Doc 35     Filed 09/10/19 Entered 09/10/19 19:49:32              Desc Main
                                 Document      Page 2 of 38



  (2) File with the Court a certification of facts (for motions for relief from the automatic
  stay);

  (3) Serve on the movant items 1 and 2 above at the address shown below; and

  (4) File a certificate of such service with the Court.

  If you fail to comply with this procedure, you may be denied the opportunity to appear
  and be heard on this proceeding before the Court.



                                         DATE OF ISSUANCE: September 10, 2019

                                         MOVANT:           Real Estate Growth Fund, LLC

                                         ATTORNEY: McMichael Taylor Gray, LLC

                                                                 /s/ J. Pamela Price
                                                                 J. Pamela Price (I.D. 14336)
                                                                 Attorney for Movant
                                                                 3550 Engineering Drive
                                                                 Suite 260
                                                                 Peachtree Corners, GA 30092
                                                                 pprice@mtglaw.com
                                                                 (404) 474-7149
Case 18-04036-jw       Doc 35   Filed 09/10/19 Entered 09/10/19 19:49:32         Desc Main
                                Document      Page 3 of 38




                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

  IN RE:                                      )       CHAPTER 13
                                              )       CASE NO. 18-04036-jw
  MYLES LOREN EDMUNDSON and                   )
  (aka Myles L Edmundson, aka Myles           )
  Edmundson)                                  )
  SANDRA KAY EDMUNDSON                        )
  (aka Sandra K Edmondson, aka Sandra K       )
  Edmundson, aka Sandy Hulslander, aka        )
  Sandra Edmundson, aka Sandra K              )
  Hulslander, aka Sandy Edmundson, aka        )
  Sandra Edmondson, aka Sandra Kay            )
  Edmondson, aka Sandra Hulslander, aka       )
  Sandra Kay Hulslander)                      )
                                              )       MOTION FOR RELIEF
                                              )       FROM AUTOMATIC
                                              )       STAY 11 U.S.C. § 362
                  DEBTORS                     )


                   MOTION FOR RELIEF FROM AUTOMATIC STAY


           COMES NOW Real Estate Growth Fund, LLC (hereinafter "Movant"), a secured

  Movant in the above- captioned case, by and through counsel, McMichael Taylor Gray,

  LLC, and moves this Court to enter an order granting its request for relief from the

  automatic stay imposed by 11 U.S.C. § 362(a) on the following grounds:

           1.     That Real Estate Growth Fund, LLC is a secured Movant of the Debtors and

  thus a party in interest.

           2.     On August 8, 2018, the above-captioned Debtors filed a petition with the

  Bankruptcy Court for the District of South Carolina, Charleston Division under Chapter

  13 of Title 11 of the United States Bankruptcy Code.
Case 18-04036-jw     Doc 35     Filed 09/10/19 Entered 09/10/19 19:49:32           Desc Main
                                Document      Page 4 of 38



         3.     On or about February 16, 2005, Mary L. Hulslander, deceased, and Robert

  L. Hulslander, deceased, executed and delivered to Capital One F.S.B. a Mortgage

  recorded in the Wilson County Register of Deeds in Book 2088 at Page 705 and recorded

  on February 28, 2005 (hereinafter "Mortgage") with an address of 501 East Center Street,

  Black Creek, NC 27813. (hereinafter "Collateral")

         4.     Movant holds a Home Equity Credit Line Agreement and Disclosure

  Statement secured by the Mortgage which describes real property owned by Mary L.

  Hulslander, deceased, and Robert L. Hulslander, deceased in the original principal

  amount of $49,500.00 and dated February 16, 2005 (hereinafter "Note"). A copy of the

  Note, Allonge(s), Mortgage, and Assignment(s) of Mortgage are attached hereto as

  Composite Exhibit “A” respectively.

         5.     Upon information and belief, Debtor, Sandra K Edmundson aka Sandra

  Hulslander is heir to the estate of Robert L. Hulslander, and thus has an interest in the

  property.

         6.     Based on the Wilson County Tax Office, the value of the Property is

  approximately $98,630.00.

         7.     Upon information and belief, the approximate payoff, exclusive of legal

  fees and expenses incurred in the connection with the instant motion, due and owing to the

  Movant as of July 29, 2019 is $40,532.56.

         8.     The Debtors’ failure to make regular monthly post-petition mortgage

  payments to Movant as they become due results in a unilateral modification of the

  mortgage and note between the parties in violation of 11 U.S.C. Section 1322(b)(2).

  Debtors are now due for the September 20, 2018 payment.
Case 18-04036-jw      Doc 35     Filed 09/10/19 Entered 09/10/19 19:49:32              Desc Main
                                 Document      Page 5 of 38



         9.      Due to the Debtors failure to make payments to Movant, the Debtors have

  not and cannot offer Movant adequate protection of its interest in the Property, and Movant

  avers it is not adequately protected.

         10.     Movant agrees to waive any claim that may arise under 11 U.S.C. §

  503(b) or §507(b) as a result of this Order. The Movant further agrees that any funds

  realized from the liquidation of its collateral/foreclosure sale, in excess of all liens, costs

  and expenses shall be paid to the Trustee.



                 WHEREFORE, Movant prays the Court as follows:



         1.      Modify the Automatic Stay of 11 U.S.C. § 362 to permit Real Estate Growth

  Fund, LLC to immediately proceed to foreclose its security interest in the property

  described in Exhibit "A" annexed to this Motion and otherwise pursue any remedies

  available under state law to recover and liquidate its collateral;

         2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable

  in this case and so Movant may immediately enforce and implement this order granting

  relief from the automatic stay;

         3.      As an alternative to the relief prayed for above, grant adequate protection to

  Movant for its interest in the Collateral;

         4.      Movant specifically requests permission to communicate with the Debtors

  and Debtors’ counsel to the extent necessary to comply with applicable non-bankruptcy

  law; and
Case 18-04036-jw     Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32        Desc Main
                               Document      Page 6 of 38



            5.   Grant Movant such other and further relief as the Court deems just and

  proper.

  This 10th day of September, 2019.

                                      ATTORNEY: McMichael Taylor Gray, LLC

                                                           /s/ J. Pamela Price
                                                           J. Pamela Price (I.D. 14336)
                                                           Attorney for Movant
                                                           3550 Engineering Drive
                                                           Suite 260
                                                           Peachtree Corners, GA 30092
                                                           pprice@mtglaw.com
                                                           (404) 474-7149
Case 18-04036-jw      Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32          Desc Main
                                Document      Page 7 of 38




                       UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

  IN RE:                                        )      CHAPTER 13
                                                )      CASE NO. 18-04036-jw
  MYLES LOREN EDMUNDSON and                     )
  (aka Myles L Edmundson, aka Myles             )
  Edmundson)                                    )
  SANDRA KAY EDMUNDSON                          )
  (aka Sandra K Edmondson, aka Sandra K         )
  Edmundson, aka Sandy Hulslander, aka          )
  Sandra Edmundson, aka Sandra K                )
  Hulslander, aka Sandy Edmundson, aka          )
  Sandra Edmondson, aka Sandra Kay              )
  Edmondson, aka Sandra Hulslander, aka         )
  Sandra Kay Hulslander)                        )
                                                )      CERTIFICATION OF
                                                )      STATEMENT OF FACTS
                                                )
                 DEBTORS                        )



  In the above-entitled proceeding, in which relief sought by Real Estate Growth Fund,
  LLC from the automatic stay provided by 11 U.S.C. § 362, I do hereby certify to the best
  of my knowledge the following:

  (1) Nature of Movant’s Interest: Movant is the current holder of the Mortgage which
  describes real property owned by Debtors and known as: 501 East Center Street, Black
  Creek, NC 27813 (“Property”)

  (2) Brief Description of Security Interests, (copy attached): Mortgage

   (3) Description of Property Encumbered by Stay (include serial number, lot and block
  number, etc.). THE FOLLOWING DESCRIBED REAL ESTATE IN THE CITY OR
  TOWN OF BLACK CREEK, BLACK CREEK TOWNSHIP, WILSON COUNTY,
  NORTH CAROLINA: BEGINNING AT AN IRON STAKE AT THE INTERSECTION
  OF THE SOUTHERN PROPERTY LINE OF PEARSON STREET WITH THE
  EASTERN PROPERTY LINE OF CENTER STREET, THENCE WITH AND ALONG
Case 18-04036-jw      Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32           Desc Main
                                Document      Page 8 of 38



  THE SOUTHERN PROPERTY LINE OF PEARSON STREET SOUTH 88 DEGREES
  39’ 00” EAST 205.60 FEET TO AN IRON STAKE, CORNERING; THENCE SOUTH
  05 DEGREES 57’ 00” WEST 115.33 FEET TO AN IRON STAKE, CORNERING;
  THENCE NORTH 89 DEGREES 16’ 54” WEST 205.70 FEET TO AN IRON STAKE
  IN THE EASTERN PROPERTY LINE OF SAID CENTER STREET, ,THENCE WITH
  AND ALONG THE EASTERN PROPERTY LINE OF CENTER STREET NORTH 05
  DEGREES 54’ 12” EAST 117.60 FEET TO THE POINT AND PLACE OF
  BEGINNING. BGEING THE IDENTICAL PROPERTY DEBISED BY SARAH
  PEARSON BALDREE TO SARAH BALDREE HUNT.



   (4) Basis for Relief: Lack of adequate protection. Pursuant to 11 U.S.C. § 362(d)(1) and
  (2). Mortgage payments are not being made to the Movant as required by the terms of the
  Note and Mortgage. As such, Movant’s interests are not adequately protected.

   (5) Prior Adjudication by Other Courts, copy attached (Decree of Foreclosure, Order for
  Possession, Levy of Execution, etc., if applicable). N/A

   (6) Valuation of Property, copy of Valuation attached (Appraisal, Blue Book, etc.):


            Fair Market Value            $98,630.00
            Movant's Lien:               $40,532.56
            Other Liens:                  $0.00
            (Midland Funding)
            Net Equity                     $58,097.44
            Source/Basis of Value          Wilson County Tax
                                           Card


   (7) Amount of Debtors’s Estimated Equity (using figures from paragraph 6): $58,097.44



  (8) Month and Year in Which First Direct Post-petition Payment Came Due to Movant

  (if applicable): September 8, 2018
Case 18-04036-jw      Doc 35     Filed 09/10/19 Entered 09/10/19 19:49:32              Desc Main
                                 Document      Page 9 of 38



  (9)(a) For Movant/Lien Holder (if applicable): List or attach a list of all post-petition

  payments received by lien holder directly from the Debtors, clearly showing date and

  amount of payment received and month and year of which each payment was applied.


  (b) For Objecting Party (if applicable): List or attach a list of all post-petition payments
  included in the Movant's list from (a) above which objecting party disputes as having
  been made. Attach written proof of such payment(s) or a statement as to why such proof
  is not available at the time of filing this objection. N/A

   (10) Month and Year for Which Post-petition Account of Debtors are Due as of the Date
  of this Motion: September 8, 2018

  See attached payment history marked as Exhibit “B”.

  This 10th day of September, 2019.

                                                                /s/ J. Pamela Price
                                                                J. Pamela Price (I.D. 14336)
                                                                Attorney for Movant
                                                                3550 Engineering Drive
                                                                Suite 260
                                                                Peachtree Corners, GA 30092
                                                                pprice@mtglaw.com
                                                                (404) 474-7149
Case 18-04036-jw      Doc 35      Filed 09/10/19 Entered 09/10/19 19:49:32           Desc Main
                                 Document      Page 10 of 38




                       UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

  IN RE:                                        )      CHAPTER 13
                                                )      CASE NO. 18-04036-jw
  MYLES LOREN EDMUNDSON and                     )
  (aka Myles L Edmundson, aka Myles             )
  Edmundson)                                    )
  SANDRA KAY EDMUNDSON                          )
  (aka Sandra K Edmondson, aka Sandra K         )
  Edmundson, aka Sandy Hulslander, aka          )
  Sandra Edmundson, aka Sandra K                )
  Hulslander, aka Sandy Edmundson, aka          )
  Sandra Edmondson, aka Sandra Kay              )
  Edmondson, aka Sandra Hulslander, aka         )
  Sandra Kay Hulslander)                        )
                                                )
                                                )      CERTIFICATE OF SERVICE
                                                )
                 DEBTORS                        )


           I HEREBY CERTIFY that a true and correct copy of the foregoing NOTICE OF

  MOTION, MOTION FOR RELIEF FROM AUTOMATIC STAY, CERTIFICATION

  OF FACTS and CERTIFICATE OF SERVICE in the above captioned case were this day

  served upon the below named persons via Regular U.S. Mail and/or Electronic Mail

  (CM/ECF) to the parties listed on the attached service list, this 10th day of September,

  2019.

  VIA U.S. MAIL

  Myles Loren Edmundson
  609 University Forest Circle
  Conway, SC 29526

  Sandra Kay Edmundson
  609 University Forest Circle
  Conway, SC 29526
Case 18-04036-jw     Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                              Document      Page 11 of 38



  VIA CM/ECF

  Elizabeth R Heilig
  Meredith Law Firm LLC
  2411 N. Oak Street
  Suite 107
  Myrtle Beach, SC 29577

  James M. Wyman
  PO Box 997
  Mount Pleasant, SC 29465-0997

  U.S. Trustee
  US Trustee’s Office
  Strom Thurmond Federal Buiding
  1835 Assembly Street
  Suite 953
  Columbia, SC 29201

  This 10th day of September, 2019.
                                                 McMichael Taylor Gray, LLC

                                                       /s/ J. Pamela Price
                                                       J. Pamela Price (I.D. 14336)
                                                       Attorney for Movant
                                                       3550 Engineering Drive
                                                       Suite 260
                                                       Peachtree Corners, GA 30092
                                                       pprice@mtglaw.com
                                                       (404) 474-7149
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 12 of 38




     EXHIBIT A
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 13 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 14 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 15 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 16 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 17 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 18 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 19 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 20 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 21 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 22 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 23 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 24 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 25 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 26 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 27 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 28 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 29 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 30 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 31 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 32 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 33 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 34 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 35 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 36 of 38
Case 18-04036-jw   Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                            Document      Page 37 of 38




     EXHIBIT B
    Case 18-04036-jw      Doc 35    Filed 09/10/19 Entered 09/10/19 19:49:32   Desc Main
                                   Document      Page 38 of 38


Hulslander
BK 18-04036 - Edmundson, Myles and Sandra

Payment Due Date Payment Due Amount    Suspense
         9/20/2018            $263.32
        10/20/2018            $259.59
        11/20/2018            $263.32
        12/20/2018            $264.93
         1/20/2019            $272.63
         2/20/2019            $294.89
         3/20/2019            $280.63
         4/20/2019            $294.89
         5/20/2019            $290.13
         6/20/2019            $294.89
         7/20/2019            $290.13
                             $3,069.35
